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 1   DAVID A. TORRES AND ASSOCIATES
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 3   Tel: (6610326-0857
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 4   Email: lawtorres@aol.com
 5
                           IN THE UNITED STATES DISTRICT COURT
 6
                         FOR THE EASTERN DISTRICT of CALIFORNIA
 7

 8
                                                    )   Case No.: Case No.1:12-CR-00325AWI-BAM
     UNITED STATES OF AMERICA,                      )
 9
                                                    )
                   Plaintiff,                       )   AMENDED STIPULATION AND
10
                                                    )   ORDER TO CONTINUE STATUS
            vs.                                     )   CONFERENCE
11
                                                    )
     BOUNHOME SINGHARATH,                           )
12
                                                    )
                   Defendant                        )
13
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
14
     BARBARA A. MCAULIFFE AND KAREN ESCOBAR, ASSISTANT UNITED STATES
15
     ATTORNEY:
16
            COMES NOW Defendant, BOUNHOME SINGHARATH, by and through his attorney
17
     of record, DAVID A. TORRES hereby requesting that the Status Conference currently set for
18
     Monday, May 13, 2013 be continued to Monday June 24, 2013 at 1:00 p.m.
19
            I am scheduled to be out of the state from May 10, 2013 through May 15, 2013 to attend
20
     my daughters’ graduation. I have spoken to AUSA Karen Escobar, she has no objection to
21
     continuing the Status Conference.
22
            The parties also agree the delays resulting from the continuance shall be excluded in the
23
     interest of justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).
24
     //
25
     //
          Case 1:12-cr-00325-AWI-BAM Document 47 Filed 05/09/13 Page 2 of 2


 1

 2              IT IS SO STIPULATED.

 3                                                         Respectfully Submitted,

 4   DATED: May 9, 2013                                    /s/ David A Torres     ___
                                                           DAVID A. TORRES
 5                                                         Attorney for Defendant
                                                           BOUNHOME SINGHARATH
 6

 7
     DATED: May 9, 2013                                    /s/Karen Escobar ________
 8                                                         KAREN ESCOBAR
                                                           Assistant U.S. Attorney
 9

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11

12
                                               ORDER

13
           IT IS SO ORDERED that the Status Conference hearing be continued to June 24, 2013.
14

15
     IT IS SO ORDERED.
16

17      Dated:                   May 9, 2013           /s/ Barbara A. McAuliffe           _
                                                 UNITED STATES MAGISTRATE JUDGE
18
           DEAC_Signature-END:




           10c20kb8554
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